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      Alan Lloyd Kessler, OSB No. 150209
3     2725 SE 36th Ave.
      Portland, Oregon 97202
4     Telephone: (503) 860-1020
      E-mail: ak@alankessler.law                                                                              Formatted: Font: Equity Caps, Bold
5       Attorney for Plaintiff

6                                                                                                             Deleted: ¶
                                                                                                              ¶
                                                                                                              ¶
7                               united states district court                                                  ¶
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8                                 for the district of oregon
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                                                                                                              oregon
9                                       portland division                                                     for the county of multnomah
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           Monica Klein,                              Case No.: 3:24−cv−00229−anAN
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13         Plaintiff,
                                                      first amended complaint                                 Deleted: Case No. ________¶
14         v.                                                                                                 ¶


15         Marian Cannell, Shelter Operations         (Art.. I, Sec. 8 of the Oregon Constitution             Deleted: Violation of Article
           Manager for Multnomah County, in           and ORS 2020.010)                                       Deleted: Section
16         her individual capacity; and                                                                       Deleted: ; First Amendment Retaliation–42 U.S.C. §1983;
           Multnomah County, a municipal              not subject to mandatory                                Retaliation–ORS 659A.030;
17         corporation of the State of Oregon,        arbitration
                                                                                                              Deleted: Declaratory and Injunctive Relief
           Defendants.                                                                                        Formatted: Font: Bold
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19
                                                                                                              Formatted: Left
                                      introduction
20
                                           1.
21
          Plaintiff, Monica Klein, by and through her counsel, brings this action alleging that
22
      Defendant Multnomah County unlawfully retaliated against her in her role as a shelter
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                                                                                         Alan Lloyd Kessler
                                                                                         2725 SE 36th Ave.
24   1 – first amended complaint                                                         Portland, OR 97202
                                                                                         ak@alankessler.law
                                                                                         (503) 860-1020
               Case 3:24-cv-00229-AN                    Document 7-1              Filed 02/29/24            Page 2 of 11




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1     volunteer for speaking up in an attempt to prevent Multnomah County Animal

2     Services (“MCAS”) from euthanizing Cloud, a year-and-a-half old poodle, then

3     housed at its shelter.

4                              jurisdiction and venue
                                          2.
5
         Plaintiff Monica Klein (“Klein”) is, and has been at all relevant times, a resident of
6
      Multnomah County, Oregon.
7
                                              3.
8
         Defendant Multnomah County (“County”) is, and has been at all relevant times, a
9
      municipal corporation of the State of Oregon.
10
                                              4.
11
         Defendant Marian Cannell is and has at all times relevant to this action been
12
      employed as Shelter Operations Manager for Multnomah County, with a primary place
13
      of business located in Multnomah County, Oregon.
14
                                 factual allegations
15                                        5.
16       Klein volunteered to work at the County’s animal shelter beginning in February of
17    2023. As a volunteer for MCAS, Klein provided care, feeding, enrichment, and
18    companionship to many of the animals held by the County’s Animal Services
19    department.
20                                            6.
21       Conditions at the County’s shelter are bleak. A February 2023 Oregonian article
22    described the issues at defendant MCAS as “deep-rooted” and having persisted “for
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                                                                                       Alan Lloyd Kessler
                                                                                       2725 SE 36th Ave.
24   2 – first amended complaint                                                       Portland, OR 97202
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                                                                                       (503) 860-1020
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1     years.” According to the article, MCAS staff and volunteers attributed the inhumane

2     conditions at the shelter to “overcrowding, staffing shortages and consistent

3     indifference from management….”

4                                              7.                                                           Deleted: ¶

5        When Klein began volunteering, she soon became aware that the shelter is severely

6     understaffed, which results in dire conditions for animals in its care. She observed that

7     dogs are often held in reeking kennels for days without walks; that many animals were

8     given food only once per day; that some dogs lack access to water; and that during

9     summer months, animals suffer in oppressive heat without adequate climate control.

10                                             8.

11       Aware that MCAS holds itself out as operating a “no-kill” shelter, Klein was

12    dismayed to learn that MCAS regularly euthanizes adoptable or treatable animals.

13    Moreover, Klein found that MCAS’s public statements and reports about its use of

14    euthanasia were incongruent with its practices.

15                                             9.

16       Disturbed by the killings, Klein researched the County’s policies and code relating

17    to euthanasia.

18                                             10.

19       From her observations and research, Klein formed a reasonable belief that

20    MCAS’s euthanasia practices violated County code and policies.

21

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1                                              11.

2        Klein also developed a reasonable belief that the County was acting contrary to law

3     and/or policy by deceiving the public about its use of euthanasia.

4                                              12.

5        In late June or early July,Klein became aware that MCAS personnel had decided to                   Deleted: Monica


6     euthanize the poodle Cloud who had been recently returned to the shelter after a first

7     adoption was vetoed by the family cat, and a second was terminated because a landlord

8     objected to his reaction to a dog he saw through a sliding glass door.

9                                              13.

10       Cloud’s adopting families both described him as affectionate and enjoying gentle

11    contact with people. The second adopter reported that he was already trained to sit

12    and lie down on command.

13                                             14.

14       Cloud was healthy and had no “bite history”—i.e., no known history of attacking

15    any person or animal. He was, to Klein’s understanding, adoptable under County code

16    and policies.

17                                             15.

18       Klein learned that MCAS had justified classifying Cloud as dangerous based on the

19    second adopter’s observation of the poodle reacting to the smaller dog. She reasonably

20    believed that it would be a violation of the County’s policies and code to classify Cloud

21    as dangerous based on that evidence.

22

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24   4 – first amended complaint                                                       Portland, OR 97202
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1                                             16.

2        Feeling affection for Cloud, and believing he was a good boy who could be adopted

3     and have a happy life, Klein first spoke with MCAS personnel asking for an

4     opportunity to find Cloud a home. She was rebuffed.

5                                             17.

6        Klein next posted a series of personal pleas from her personal accounts on social

7     media sites.

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                                                                                     Alan Lloyd Kessler
                                                                                     2725 SE 36th Ave.
24   5 – first amended complaint                                                     Portland, OR 97202
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1                                             18.

2        For example, on July 7, 2023, Klein posted the following image and text on the

3     social media site nextdoor.com:

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5

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17

18                                            19.                                                         Deleted: ¶


19       Klein’s post was removed at least once by nextdoor.com because, upon

20    information and belief, defendant County requested the social media site to censor her

21    statements.

22                                            20.
                                                                                                          Deleted: she
23       On July 8, 2023 Klein posted an update, writing:                                                 Deleted: <object>
                                                                                     Alan Lloyd Kessler
                                                                                     2725 SE 36th Ave.
24   6 – first amended complaint                                                     Portland, OR 97202
                                                                                     ak@alankessler.law
                                                                                     (503) 860-1020
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1         “Update, cloud was euthanized. I pleaded they at least wait until the
          director has responded to our emails. They said ‘nope’ very heartlessly.
2         This is Andrew and Erin at the MULTNOMAH COUNTY SHELTER.”
          (emphasis original)
3
                                               21.
4
         The way in which the County operates its shelter, the transparency it provides to
5
      the public about its operations, and the degree to which animals in the care of MCAS
6
      are treated humanely are matters of substantial public concern. This is evidenced, for
7
      example, in the large amount of support and attention Klein’s posts received.
8
                                               22.
9
         On July 11, Defendant Cannell emailed Klein to terminate her service at MCAS.
10
      Cannell wrote in a letter:                                                                            Deleted: (attached hereto as Exhibit A):
11
          “Due to your actions occurring over the weekend of July 8-9 that were
12        in violation of the Volunteer Agreement, we are writing to inform you
          that we are permanently terminating your volunteer service at MCAS,
13        in person or remotely, effective immediately.”
14                                             23.

15       Cannell’s email to Klein included several paragraphs of text, which Cannell                        Deleted: as

16    identified as excerpts from MCAS’s volunteer handbook. The quoted text purports to

17    require volunteers to “adher[e] to, and show[] support of, the policies and directives of

18    MCAS staff….”

19                                             24.

20       Moreover, the text quoted in Defendant Cannell’s letter purports to prohibit

21    volunteers from “…solicit[ing] changes to determined dispositions or individual

22    outcomes without express approval from MCAS, including seeking rescue for animals

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               Case 3:24-cv-00229-AN                     Document 7-1             Filed 02/29/24             Page 8 of 11




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1     on behalf of MCAS, seeking adoption placement for animals that are not available for

2     adoption, or otherwise disregarding the disposition determination process in place at

3     MCAS.”

4                                               25.

5        In short, each of the County—through Cannell as its agent—and Cannell, as an

6     individual, expressly terminated Klein’s volunteer service because of and in retaliation

7     for her public statements regarding Cloud and the County’s euthanasia and animal

8     care practices.

9                              first claim for relief
                        uniform declaratory judgment act
10                       (Oregon Constitution – Article 1, Section 8)
11
                                                26.
12
         Plaintiff incorporates the allegations contained in the above paragraphs of this
13
      Complaint as if fully set forth herein.
14
                                                27.
15
         Defendants’ Volunteer Agreement violates Article 1, Section 8 of the Oregon
16
      Constitution because it imposes impermissible restrictions on the content of
17
      volunteers’ expression.
18
                                                28.
19
         Defendants’ termination of Plaintiff’s volunteer service violated Article 1,
20
      Section 8 of the Oregon Constitution because it was based on the application of a
21
      policy that explicitly regulates expression based on content.
22

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                                                                                        Alan Lloyd Kessler
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1                                               29.

2        Defendants’ ban on Plaintiff’s future volunteer service violates Article 1, Section 8

3     of the Oregon Constitution because it punishes Plaintiff for her lawful expressive

4     activities, which were related to topics of public interest, and because it is intended to

5     and/or is likely to chill the free expression of other similarly situated volunteers.

6                                               30.

7        Defendants’ termination of Plaintiff’s volunteer service was unlawful because it

8     was based on the application of a policy that explicitly regulates expression based on its

9     content.                                                                                                 Deleted:


10                                              31.

11       Defendants’ termination of Klein’s volunteer service was unlawful because it was

12    motivated by the content of her social media posts.

13

14                                              32.

15       Defendants’ interference with Plaintiff’s nextdoor.com posts violated Article 1,

16    Section 8 of the Oregon Constitution because it suppressed Plaintiff’s written

17    expression based on its content.

18                                              33.                                                            Deleted: ¶


19       Defendants’ policy that volunteers must receive “express approval” before

20    “solicit[ing] changes to determined dispositions or individual outcomes” is a prior

21    restraint on expression in violation of Article I, Section 8 of the Oregon Constitution.

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                                                                                          Alan Lloyd Kessler
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24   9 – first amended complaint                                                          Portland, OR 97202
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               Case 3:24-cv-00229-AN                      Document 7-1                Filed 02/29/24             Page 10 of 11




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1                                                34.

2        Plaintiff is entitled to declaratory relief as to the invalidity of the provisions of law,
                                                                                                                 Moved down [1]: ¶
                                                                                                                 Plaintiff
3     code, and policy Defendants relied upon in taking the unlawful actions described
                                                                                                                 Deleted: second claim for relief
                                                                                                                 42 U.S.C. §1983¶
4     above.                                                                                                     (First Amendment Retaliation)¶
                                                                                                                 ¶
                                                                                                                 Plaintiff incorporates the allegations contained in the above
5                                                35.                                                             paragraphs of this Complaint as if fully set forth herein.¶
                                                                                                                 ¶
6        Plaintiff is entitled to injunctive relief requiring Defendants to reinstate her as a                   Plaintiff’s social media posts expressed her opinions
                                                                                                                 related to MCAS’ euthanasia practices and MCAS’ animal
                                                                                                                 care practices, each of which is a topic of public concern.
7     volunteer.                                                                                                 As such, each of the posts was a constitutionally protected
                                                                                                                 expression under the First Amendment to the United
                                                                                                                 States Constitution.¶
8                                                                                                                 ¶
                                      prayer for relief                                                          Defendants’ termination of Klein’s volunteer service was
9                                                                                                                motivated by the content of her social media posts.¶
                                                                                                                 ¶
         Wherefore, Plaintiff prays for judgment as follows:                                                     Defendant Cannell acted to end Klein’s volunteer service
10                                                                                                               with knowledge of, and in retaliation for, Klein’s protected
                                                                                                                 expressive activities.¶
         a) For reinstatement of Plaintiff’s volunteer service;                                                   ¶
11                                                                                                               Defendant Cannell acted to violate Klein’s rights both
                                                                                                                 individually and on the behalf of Defendant County; her
         b) For permanent injunction prohibiting Defendants from retaliating against
12                                                                                                               decision to end Klein’s volunteer service were made in
                                                                                                                 accordance with the County’s official policies, in
               Plaintiff or other volunteers for opposing Defendant’s policies or practices;                     accordance with the County’s widespread practices or
13                                                                                                               customs, and/or in her capacity as an official with final
                                                                                                                 policy-making authority.¶
         c) For a declaration that MCAS’s volunteer agreement or specific portions                               ¶
14                                                                                                               Defendants’ actions to terminate Plaintiff’s volunteer
                                                                                                                 service chilled Plaintiff’s expressive activity and is likely to
               thereof are invalid;
15                                                                                                               have chilled other volunteers’ expressive activities.
                                                                                                                 Defendants’ actions would chill a person of ordinary
         d) For a declaration that the laws, rules, and policies relied on by Defendants in                      firmness from continuing to engage in expressive activity.¶
16
                                                                                                                 Deleted: is entitled injunctive relief requiring Defendants
               conducting the actions described above are invalid;                                               to reinstate her as a volunteer.¶
17                                                                                                               ¶
                                                                                                                 As a result of Defendants’ behavior alleged above, Plaintiff
         e) For Plaintiff’s reasonable attorney’s fees and costs pursuant to:                                    is entitled to recover economic, non-economic, and/or
18                                                                                                               nominal damages as well as her reasonable costs and
                                                                                                                 attorney’s fees.¶                                        ... [1]
                   1) The public benefit doctrine, exemplified by Deras v. Myers, 272 Or 47,
19                                                                                                               Formatted: Font: Equity Caps, Not Italic

                      66-67, 535 P2d 541 (1975), Leppanen v. Lane Transit District, 181 Or                       Formatted: Font: Equity Caps
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                                                                                                                    Deleted: who have opposed unlawful behavior
                      App 136, 149, 45 P3d 501 (2002), Swett v. Bradbury, 335 Or 378, 67 P3d                        Deleted: <#>For actual damages including economic
21
                                                                                                                    and non-economic losses caused by Defendants’ illegal
                      391 (2003), and Kerr v. Bradbury, 194 Or App 133, 93 P3d 841 (2004);                          retaliation, in amounts to be determined by the Court;¶
22                                                                                                                  For nominal damages in the amount of $1 from each
                                                                                                                    Defendant;¶
                      and/or
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                                                                                            Alan Lloyd Kessler
                                                                                            2725 SE 36th Ave.
24   10 –first amended complaint                                                            Portland, OR 97202
                                                                                            ak@alankessler.law
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             Case 3:24-cv-00229-AN                     Document 7-1              Filed 02/29/24             Page 11 of 11




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1               2) The substantial benefit doctrine, exemplified by Crandon Capital

2                   Partners v. Shelk, 342 Or 555, 564, 157 P3d 176 (2007) and De Young v.

3                   Brown, 300 Or App 530, 451 P3d 651 (2019); and

4        f) Providing all other and further relief as to which Plaintiff may be entitled and                  Deleted: For
                                                                                                              Deleted: any
5           which the Court may deem to be equitable and just.                                                Deleted: equitable
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6
                                                                                                              Deleted: determine

7         DATED: FeburaryFeburary 29,                                                                         Deleted: fair
       2024.                                                                                                Deleted: ¶
8         Respectfully Submitted,                                                                           Deleted:
                                                 /s/ Alan Lloyd Kessler                                     Deleted: January 3
9                                                Alan Lloyd Kessler, OSB No. 150209
                                                 2725 SE 36th Ave.
10                                               Portland, OR 97202                                         Formatted: Font:
                                                 ak@alankessler.law
11                                               Plaintiff/Attorney for Plaintiff

12                                               ATTORNEY TO BE NOTICED                                     Formatted: Font:


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